           Case 2:04-cr-00351-JCC          Document 95       Filed 05/13/13      Page 1 of 2




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 5
                              UNITED STATES DISTRICT COURT
 6                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,                            NO. CR04-351-JCC

 9                                 Plaintiff,

10          v.                                            SUMMARY REPORT OF
                                                          U.S. MAGISTRATE JUDGE AS
11
     JEFFREY SCOTT ABRAHAM,                               TO ALLEGED VIOLATIONS
12                                                        OF SUPERVISED RELEASE
                                   Defendant.
13

14          An initial hearing on a petition for violation of supervised release was held before the

15   undersigned Magistrate Judge on May 13, 2013. The United States was represented by

16   Assistant United States Attorney Bruce Miyake, and the defendant by Ralph Hurvitz.

17          The defendant had been charged with Conspiracy to Commit Armed Robbery, in

18   violation of 18 U.S.C. § 371, and Possession of a Firearm in Furtherance of a Crime of

19   Violence, in violation of 18 U.S.C. § 924(c). On or about July 1, 2005, defendant was

20   sentenced by the Honorable John C. Coughenour to a term of 72 months in custody, to be

21   followed by 5 years of supervised release.

22          The conditions of supervised release included the requirements that the defendant

23   comply with all local, state, and federal laws, and with the standard conditions. Special

24   conditions imposed included, but were not limited to, participation in substance abuse and

25   mental health programs, financial disclosure, search, collection of DNA, and drug testing and

26   substance abuse treatment.


     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 1
           Case 2:04-cr-00351-JCC          Document 95       Filed 05/13/13      Page 2 of 2




 1          In a Petition for Warrant or Summons dated March 28, 2013, U.S. Probation Officer

 2   Analiese D. Johnson asserted the following violation by defendant of the conditions of his

 3   supervised release:

 4          1.      Using marijuana on or before March 6, 2013, in violation of standard condition
                    7.
 5
            The defendant was advised of his rights, acknowledged those rights, and admitted to
 6
     violation 1.
 7
            I therefore recommend that the Court find the defendant to have violated the terms and
 8
     conditions of his supervised release as to violation 1, and that the Court conduct a hearing
 9
     limited to disposition. A disposition hearing on this violation has been set before the
10
     Honorable John C. Coughenour on May 21, 2013 at 9:00 a.m.
11
            Pending a final determination by the Court, the defendant has been released, subject to
12
     supervision.
13
            DATED this 13th day of May, 2013.
14

15

16
                                                   A
                                                   JAMES P. DONOHUE
                                                   United States Magistrate Judge
17

18
     cc:    District Judge:                Honorable John C. Coughenour
19          AUSA:                          Bruce Miyake
            Defendant’s attorney:          Ralph Hurvitz
20          Probation officer:             Analiese D. Johnson
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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 2
